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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §              Case No: 4:21-cv-03658
                                      §
vs.                                   §              PATENT CASE
                                      §
LONESTAR TRACKING, LLC,               §              JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                             JOINT STIPULATION OF DISMISSAL

         Plaintiff Social Positioning Input Systems, LLC and Defendant Lonestar Tracking,

 LLC by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all claims asserted by the Defendant in this Action are dismissed without prejudice under Fed. R.

Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION OF DISMISSAL                                                             |1
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Dated: January 26, 2022.            Respectfully submitted,

                                    /s/Jay Johnson
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JOINT STIPULATION OF DISMISSAL                                          |2
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
January 26, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                             /s/Jay Johnson
                                             JAY JOHNSON




JOINT STIPULATION OF DISMISSAL                                                           |3
